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DEFENDANT STATUS SHEET

(One for each defendant)

I. CASE STATUS
Name of Defendant: Heritier Motendi Lokua
Has defendant had initial appearance in this case? [ ] Yes No

MJ CR

I. CUSTODIAL STATUS
If defendant had initial appearance, please check one of the following:
[| Continue Conditions of Release

[ | Continue Detention

[| Temporary Detention, a detention hearing has been scheduled for

Il. ARRAIGNMENT
Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
[| Summons to be Issued for Appearance on
Defendant’s Address:

[ Letter to Defense Counsel for Appearance on

Defense Attorney’s Name and address:

The estimated trialtimeis 5 days.
(Revised March 2018)
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DEFENDANT STATUS SHEET

(One for each defendant)

I. CASE STATUS
Name of Defendant: Jospin Kapinga Mujangi
Has defendant had initial appearance in this case? [ | Yes No

MJ CR

Il. CUSTODIAL STATUS
If defendant had initial appearance, please check one of the following:
[| Continue Conditions of Release

[ | Continue Detention

[| Temporary Detention, a detention hearing has been scheduled for

Tl. ARRAIGNMENT
Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)
[| Summons to be Issued for Appearance on
Defendant’s Address:

[| Letter to Defense Counsel for Appearance on

Defense Attorney’s Name and address:

The estimated trialtime is 5 days.
(Revised March 2018)
